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                                                                          FILED: April 1, 2025


                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT

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                                             No. 25-1291
                                        (1:25-cv-00596-ELH)
                                       ___________________

        AMERICAN FEDERATION OF STATE, COUNTY AND MUNICIPAL
        EMPLOYEES, AFL-CIO; ALLIANCE FOR RETIRED AMERICANS;
        AMERICAN FEDERATION OF TEACHERS

                      Plaintiffs - Appellees

        v.

        SOCIAL SECURITY ADMINISTRATION; LELAND DUDEK, in his official
        capacity as purported Acting Commissioner, Social Security Administration;
        MIKE RUSSO, in his official capacity as Chief Information Officer, Social
        Security Administration; ELON MUSK, in his official capacity as Senior Advisor
        to the President and de facto head of DOGE; U.S. DOGE SERVICE; U.S. DOGE
        SERVICE TEMPORARY ORGANIZATION; AMY GLEASON, in her official
        capacity as DOGE Acting Administrator

                      Defendants - Appellants

                                       ___________________

                                     CORRECTED ORDER
                                       ___________________

              Having assessed the contentions of the parties, this appeal is dismissed for

        lack of jurisdiction.
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              Entered at the direction of Judge King with the concurrence of Judge Agee

        and Judge Richardson.

                                            For the Court

                                            /s/ Nwamaka Anowi, Clerk
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        AGEE, Circuit Judge, concurring:

              In resolution of the pending motion for a preliminary injunction, the parties

        should explain in specific detail the basis for their respective arguments. Generalized

        explanations are unlikely to meet the burdens of proof required. Furthermore, I

        recommend the district court move expeditiously and without delay to render its

        opinion on the motion for preliminary injunction while also allowing the

        introduction of relevant evidence.
